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                                                                              2018 Aug-15 PM 04:22
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

                                           )
 BLACK WARRIOR                             )
 RIVERKEEPER, INC.                         )
                                           )
             Plaintiff,                    )   Case No.: 2:16-cv-01443-AKK
                                           )
 v.                                        )
                                           )
                                           )
 DRUMMOND COMPANY,                         )
                                           )
             Defendant.                    )
                                           )

      DRUMMOND COMPANY, INC.’S EVIDENTIARY SUBMISSION IN
          SUPPORT OF MOTION FOR SUMMARY JUDGMENT

        Drummond Company submits the following in support of its Motion for

Summary Judgment:

                                  TABLE OF CONTENTS

        Exhibit 1         Documents produced by Drummond Company, Inc. (“DRUM”
                          prefix)

        Exhibit 2         Documents produced by Black Warrior Riverkeeper, Inc.
                          (“BWR” prefix)

        Exhibit 3         Deposition of Nelson Brooke

        Exhibit 4         Deposition of David Muncher

        Exhibit 5         6/25/18 Deposition of Lois George

        Exhibit 6         6/27/18 Deposition of Lois George



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        Exhibit 7     Deposition of Lynn Sisk and its Exhibits 2, 3, and 5

        Exhibit 8     Figure 29 from October 17, 2017 report by Anthony Brown

        This 15th day of August, 2018.

                                         Respectfully submitted,


                                         /s/ Richard E. Davis
                                         William A. Davis, III (ASB-5657-D65W)
                                         Richard E. Davis (ASB-6685-A58R)
                                         Alfred H. Perkins, Jr. (ASB-3979-R68A)

                                         Attorneys for Drummond Company, Inc.



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                            CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Evidentiary Submission in Support of
Motion for Summary Judgment has been filed with the Clerk of the Court using the
CM/ECF system which is supposed to send electronic notification of such filing to
counsel of record and that this document has also been transmitted in electronic form
to the e-mail address indicated for counsel below:

       Eva L. Dillard, Esq.                     Barry Brock, Esq.
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        This 15th day of August, 2018.


                                         /s/ Richard E. Davis
                                         Of Counsel




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